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November 2, 2020

Via ECF

Honorable Katherine B. Forrest
United States District Judge
Southern District of New York
United States Courthouse

500 Pearl Street C
New York, New York 10007 Hon. P. Kevin Castel, US.D J.

J//- %W%- 20

Re: Reappointment Pursuant to the CJA for
Compassionate Release Motion for Robert Gilliard
United States v, Gilliard, V7 Cr. 443 (SBF)

Application Granted,

    

So Ordered:

 

Dear Judge Forrest:

I represented Robert Gilliard in the above criminal matter before Your Honor several
years ago. Mr. Gilliard is still serving a sentence on these charges, and contacted my office
seeking my help to assist him in filing a motion for compassionate release pursuant to 18 U.S.C.
§ 3582(c)(1)(A)(). I would respectfully request that Your Honor re-appoint me in this matter.

Respectfully submitted,
s/ Lorraine Gauli-Rufo, Esq.
CJA Attorney

cc: All Counsel of Record

 
